       Case 1:25-cv-00033-DEH         Document 1      Filed 01/02/25     Page 1 of 24




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ANDAV CAPITAL,
 NISHA DESAI,
                         Plaintiffs, Case No. 25-cv-33
     v.
                                     COMPLAINT
 PAYPAL HOLDINGS, INC.,
 PAYPAL VENTURES,                    JURY TRIAL DEMANDED
                        Defendants.

       1.     In the United States, race is a “forbidden classification” under our law

because “it demeans the dignity and worth of a person to be judged by ancestry instead

of by his or her own merit and essential qualities.” SFFA v. Harvard, 600 U.S. 181, 220

(2023). So Congress, in enacting 42 U.S.C. §1981 as part of the Civil Rights Act of 1866,

“establish[ed] in the federal law a broa[d] principle” of racial neutrality that “proscribe[s]

discrimination in the making or enforcement of contracts against, or in favor of, any race.”

McDonald v. Santa Fe Trail Transp. Co., 427 U.S. 273, 295 (1976) (emphasis added).

       2.     That federal law would allow racial discrimination—no matter the race of the

victims—is a notion “so radical, so destructive, that it required a Second Founding to

undo.” SFFA, 600 U.S. at 230. As the Supreme Court has recently emphasized, dis-

crimination against Asian Americans is legally prohibited, even if that discrimination

supposedly helps members of other racial groups. Id. at 218.

       3.     Remediation of broad societal discrimination in the past cannot justify

further and new broad societal discrimination today: It cannot “justify a [racial] classi-

fication that imposes disadvantages upon persons … who bear no responsibility for


                                              1
       Case 1:25-cv-00033-DEH        Document 1      Filed 01/02/25     Page 2 of 24




whatever harm the beneficiaries of the race-based … program are thought to have suf-

fered.” Id. at 226 (cleaned up). And an institution’s “self-proclaimed righteousness does

not afford them license to discriminate on the basis of race.” Id. at 256 (Thomas, J.,

concurring). “Indeed, if our history has taught us anything, it has taught us to beware

of elites bearing racial theories.” Id. at 267 (Thomas, J., concurring).

       4.     PayPal is flagrantly violating these principles. It runs a multi-million-dollar

investment program that racially discriminates by design. This program invests in

“Black and Latinx-led” emerging venture-capital funds. Funds majority-owned by indi-

viduals of other races, including Asian Americans, are not given equal consideration.

Worse, PayPal and its senior management have repeatedly trumpeted the program’s

focus on race, bragging in statements and press releases that PayPal’s program is for

some races and ethnicities but not others.

       5.     PayPal’s discrimination harmed Nisha Desai, directly and immensely.

Born and raised in northwest Georgia, Ms. Desai is an American woman, a U.S. citizen,

and the daughter of lawful American citizens. She founded and runs Andav Capital, an

early-stage venture capital firm. But Ms. Desai is Asian American. When Ms. Desai

sought inclusion in PayPal’s program, she was denied equal consideration—along with

significant funding at a crucial time—because of her race.

       6.     The exclusion from PayPal’s program cost Andav vital capital worth mil-

lions of dollars. As PayPal anticipated and hoped, emerging venture firms that received




                                             2
       Case 1:25-cv-00033-DEH       Document 1     Filed 01/02/25    Page 3 of 24




PayPal’s investment were able to leverage those awards into additional investments,

greater brand equity, resources, access, and success.

       7.     For some of the funds, PayPal was the first major or institutional inves-

tor—a fact that created a halo effect and that catalyzed substantial fundraising and

growth for those awardees. Meanwhile, funds that PayPal rejected suffered from the

adverse and inaccurate perception that PayPal had made a decision based on the merits

of their business, rather than the race of the fund’s ownership.

       8.     PayPal’s exclusion of Asian-Americans violated §1981 because it blocked

the creation of contractual relationships based on race.

       9.     PayPal’s racially exclusionary investment program is also illegal under New

York state and city laws prohibiting racial discrimination.

                                       PARTIES
       10.    Plaintiff Andav Capital is a New York-based venture-capital firm.

       11.    Plaintiff Nisha Desai, a United States citizen and Asian-American woman,

is CEO and the founding general partner of Andav Capital. She lives and works in New

York City.

       12.    Defendant PayPal Holdings, Inc. is a financial institution and technology

company. It has offices around the world, including in New York City.

       13.    Defendant PayPal Ventures is the corporate venture arm of PayPal.

       14.    Together, the PayPal defendants ran the racially discriminatory program

that injured Plaintiffs.


                                            3
       Case 1:25-cv-00033-DEH         Document 1       Filed 01/02/25    Page 4 of 24




                           JURISDICTION AND VENUE
       15.    This Court has subject-matter jurisdiction under 28 U.S.C. §1331, §1343,

and §1367 because Plaintiffs primarily allege violations of federal civil-rights laws and

all other claims form part of the same case or controversy.

       16.    Venue is proper under 28 U.S.C. §1391 because a substantial part of the

events or omissions giving rise to the claims occurred in this district.

                              FACTUAL ALLEGATIONS
   A. PayPal launches an investment program to “support Black and minority-
      owned businesses and communities.”
       17.    On June 11, 2020, PayPal and its CEO Dan Schulman unveiled “a $530

million commitment to support Black and minority-owned businesses in the U.S. … to

help address economic inequality.” Press Release, PayPal Announces $530 Million Commit-

ment to Support Black Businesses, Strengthen Minority Communities and Fight Economic Inequality

(June 11, 2020), perma.cc/DE5G-QXFL.

       18.    This commitment included a $500 million allocation specifically for “an

economic opportunity fund to support and strengthen Black and underrepresented mi-

nority businesses and communities over the long term” and to “drive financial health,

access and generational wealth creation,” including by “investing directly into Black and

minority-led startups and minority-focused investment funds.” Id. (emphasis added); accord

Masters of Scale, Inside PayPal’s $530M Plan to Close the Racial Wealth Gap - PayPal’s Dan




                                              4
       Case 1:25-cv-00033-DEH         Document 1      Filed 01/02/25   Page 5 of 24




Schulman (archived Dec. 21, 2024), tinyurl.com/mryxcb4a (Dan Schulman: “We estab-

lished a $500 million fund to invest in Black and minority entrepreneurs, Black and

minority-owned businesses, [and] Black and minority-owned investment funds.”).

       19.    “Startups and investment funds” were “invited to express interest” in this

economic opportunity fund “to the PayPal Ventures team.” PayPal Announces $530 Mil-

lion Commitment to Support Black Businesses, supra.

   B. Nisha Desai and Andav Capital immediately seek funding through
      PayPal’s investment program and appear to be ideal recipients.
       20.    Ms. Desai and Andav Capital immediately sought funding from the new

PayPal investment program.

       21.    Based on PayPal’s purported intent to “fight economic inequality,” “drive

financial health, access and generational wealth creation,” “close the racial wealth gap,”

and “advanc[e] a more just economy and society,” Ms. Desai and Andav Capital ap-

peared to be ideal candidates. Id.

       22.    Ms. Desai established Andav to generate financial returns by investing in

undervalued early-stage companies, whose overlooked founders or gap-closing business

models would generate above-market returns. She had a deep affinity for and track

record of doing so.

       23.    Ms. Desai’s life has given her an acute understanding of the intersection

of legal equality, economic opportunity, and generational advancement:




                                              5
Case 1:25-cv-00033-DEH      Document 1      Filed 01/02/25   Page 6 of 24




  a. Ms. Desai is an American woman. She is also a woman of color and Asian

     American.

  b. She was born and raised in the Deep South to blue-collar immigrants for

     whom English was a fourth language (after Gujarati, Swahili, and Hindi).

  c. Her mother, one of seven born and raised in colonial Uganda to small-

     business operators, became destitute and a refugee under Idi Amin’s for-

     cible Asian-expulsion and violent, race-based Asian asset nationalization.

  d. Her father—one of eight born and raised in Kenya as a British subject—

     was unlawfully detained by the British government and refused his rightful

     British citizenship.

  e. All four of her grandparents were born under and subject to colonial rule.

  f. Immigrating to the U.S. in the 1970s legally as British citizens, her parents

     worked 6 to 7 days per week for decades as small business owner-opera-

     tors and became naturalized American citizens. From childhood, she of-

     ten worked alongside them. She and her family made many sacrifices and

     worked tirelessly in pursuit of the American Dream.

  g. Ms. Desai became a first-generation college graduate. She worked multiple

     jobs in high school and college (while sustaining heavy extracurricular,

     leadership, and academic loads) to pay her way through college and to fully

     repay her educational loans.




                                    6
       Case 1:25-cv-00033-DEH         Document 1      Filed 01/02/25    Page 7 of 24




             h. Despite her humble background and lack of connections or guidance, Ms.

                Desai reached and excelled at preeminent institutions including Google,

                Wachtell Lipton, J.P. Morgan, Georgetown, and The Wharton School.

             i. She exhibited a lifelong commitment to inclusion, America’s promise of

                equal rights, and professional excellence: She worked for civil-rights leader

                Rep. John Lewis, in a jail and a public defender’s office for indigent in-

                mates, and toward the rare professional distinction of Chartered Financial

                Analyst.

       24.      Given her own family’s history, Ms. Desai views hard work, entrepreneur-

ship, and the rule of law as the foundation for self-empowerment and the American

Dream. Ms. Desai believed early-stage capital markets were inefficient in addressing

talented, hungry entrepreneurs who lacked access to “friends and family” capital.

Through Andav, she sought to level the playing field for diverse and overlooked found-

ers.

       25.      Andav Capital’s demonstrable work fit PayPal’s stated economic inclusion

goals and interests. For example, in the midst of the Covid-19 pandemic, Andav’s port-

folio companies enabled thousands of struggling Americans to get credited back for

bank overdraft fees, provided income sources to the underemployed by creating new

remote work opportunities, and counseled hundreds of American small businesses and

non-profits, including healthcare clinics, family-owned farms, restaurants, and mom-

and-pop shops.

                                              7
      Case 1:25-cv-00033-DEH        Document 1      Filed 01/02/25   Page 8 of 24




      26.    Based on Andav’s prior work and on a June 2020 interview, Emerging Man-

ager Monthly published an article titled “Andav Offers Early-Stage Seeding to Diverse

Businesses.” Andav Offers Early-Stage Seeding to Diverse Businesses, Emerging Manager

Monthly (Nov. 26, 2020) (Interviewed in June 2020). This reputable industry publica-

tion stated that, “[a]s ESG investments begin to shift to focusing beyond the ‘E’ for

environment, Andav Capital’s focus is largely on the ‘S’ of social and economic impact

for underserved populations and on companies whose core businesses drive solutions

for socio-economic disparity” and that “Andav Capital focuses on underserved found-

ers that don’t come from generational wealth.” Id. It included Ms. Desai’s statement

that “[t]he durability of the businesses we are investing in is enhanced by the fact that

very few other companies are applying for-profit business structures to addressing in-

equities of the bottom 99%, particularly in this country.” Id.

      27.    Andav invested in, for example, financial technology, commerce enable-

ment, and payments.

      28.    Working full-time 7 days a week, Ms. Desai invested substantial time, cap-

ital, and effort building Andav Capital.

      29.    Ms. Desai personified PayPal’s stated goals. A minority woman overcom-

ing generational adversity, she committed her resources and talents to launching a firm

to specifically support underrepresented founders and undervalued companies, the vast

majority of whom were operated by women, minorities, or other often overlooked

groups. Ms. Desai was well-positioned to deploy PayPal’s capital to benefit a variety of

                                            8
       Case 1:25-cv-00033-DEH      Document 1      Filed 01/02/25   Page 9 of 24




early-stage, undercapitalized companies in alignment with both PayPal’s and Andav’s

interests.

       30.   Within hours of PayPal’s June 2020 announcement, Ms. Desai contacted

Patrick Dowd, a PayPal executive in partnerships, who had publicly indicated his affili-

ation with the funding program.

       31.   Mr. Dowd and Ms. Desai had a two-hour discussion over Zoom that very

day regarding Andav’s work and its inclusion in PayPal’s funding program.

       32.   Mr. Dowd received confidential information on Andav from Ms. Desai

and directed her to follow up with another PayPal executive, which she did.

       33.   Also on June 11, Ms. Desai separately contacted Jay Ganatra, Director of

PayPal Ventures, to explain Andav’s fit for PayPal’s program.

       34.   Mr. Ganatra directed Ms. Desai to email him more information on Andav

in order to figure out next steps, which Ms. Desai did.

       35.   In the weeks following these contacts, Ms. Desai had several more ex-

changes with Mr. Ganatra and Mario Ruiz, Principal of PayPal Ventures, regarding Pay-

Pal’s funding program and Andav.

       36.   At Mr. Ganatra’s request, Ms. Desai provided PayPal with proprietary and

confidential information about Andav and Ms. Desai’s relevant experience. Ms. Desai

shared (among other things) her investment thesis, execution strategy, professional ex-

perience, investment performance, track record, capital markets views, and portfolio




                                           9
       Case 1:25-cv-00033-DEH      Document 1    Filed 01/02/25    Page 10 of 24




company information, including qualitative and quantitative impact on reducing socio-

economic disparity for overlooked Americans and on funding underrepresented found-

ers.

       37.   On July 19, 2024, Ms. Desai reached out to Usman Ahmed, Head of Pub-

lic Policy and Research for PayPal, to discuss PayPal’s program, her experience, and

capital-markets realities for emerging-manager-led venture-capital firms. Mr. Ahmed

has a J.D. and teaches at a law school.

       38.   On July 24, 2020, Ms. Desai spoke with Mr. Ahmed. They discussed the

program’s process, policies, and power; the emerging-manager-led venture capital mar-

ket, market structure, and manager selection; company and senior management deci-

sions, including racial and socio-economic inclusion in PayPal’s $530 million program;

and Ms. Desai’s concerns that Asian-American women fund managers be equally eval-

uated and included within the program.

       39.   During this discussion, Mr. Ahmed acknowledged and confirmed that the

program did, in fact, preference black and Hispanic-led firms over other races and eth-

nicities, including Asian Americans.

       40.   Ms. Desai discussed her own background and explained that race was an

inappropriate proxy for socio-economic background, access to generational wealth, or

unearned access to opportunities. Ms. Desai reiterated to Mr. Ahmed that her and An-

dav’s work should be evaluated on merit, fit, and record.




                                          10
      Case 1:25-cv-00033-DEH          Document 1      Filed 01/02/25   Page 11 of 24




       41.     On July 25, 2020, Ms. Desai sent Mr. Ahmed additional research and in-

formation about the emerging-fund-manager market, Andav’s experience, and how An-

dav would advance PayPal’s stated goals. Ms. Desai also reiterated the substantial mar-

ket impact of PayPal’s investment. She reiterated the challenges of underrepresented

emerging fund managers (particularly those who do not come from generational wealth)

and the market-impacting role and halo effects of catalytic capital from limited partners,

like PayPal’s opportunity fund. Mr. Ahmed responded on July 26, 2020, thanking Ms.

Desai and letting her know that he would follow up with her.

       42.     Neither Mr. Ahmed nor anyone else at PayPal ever followed up with Ms.

Desai. PayPal instead excluded her and Andav from competing for these funds because

of Ms. Desai’s race. Had they been allowed, Ms. Desai and Andav would have com-

pleted all necessary steps to obtain, and would have accepted, Paypal’s funding through

the program.

   C. PayPal announces awards.
       43.     On October 28, 2020, PayPal announced its first program investments,

stating it was investing “$50 million in eight early-stage, Black and Latinx-led venture

capital funds.” Press Release, PayPal Invests $50 Million in Black and Latinx-Led Venture

Capital Funds (October 28, 2020), perma.cc/9SRU-T5XL. PayPal’s press release empha-

sized the racial criteria it applied to its investments. Id.




                                              11
      Case 1:25-cv-00033-DEH        Document 1      Filed 01/02/25    Page 12 of 24




       44.    PayPal’s CEO, Dan Schulman, repeated the company’s racial rhetoric, em-

phasizing that “PayPal is investing $50 million in eight Black and Latinx-led, early-stage

venture capital funds.” Dan Schulman, LinkedIn Post (2020), perma.cc/4HD5-82M2.

       45.    Consistent with its racially exclusive investment program, PayPal an-

nounced in the same press release that it would establish a racially exclusive venture

capital apprenticeship program. It would “begin offering a three-month fellowship to a

Black or Latinx graduate student each semester, through which the PayPal Ventures

team will provide coaching, training and mentoring.” PayPal Invests $50 Million in Black

and Latinx-Led Venture Capital Funds, supra.

       46.    Ultimately, every single one of the funds that PayPal invested in this first

round included at least one general partner who was black or Latino—an unmistakable

racial pattern that reflected PayPal’s stated race-based purpose.

       47.    The press release also noted that PayPal Ventures invests in “startups in

areas of strategic relevance to PayPal, including financial services, commerce enable-

ment and payments infrastructure.” Id. Andav already had a track record of investing in

startups (including startups led by underrepresented founders) in these three areas.

       48.    Some of the funds PayPal invested in lacked relevant track records com-

parable to Andav’s. Yet PayPal became the first major investor for those funds.

       49.    On May 26, 2021, PayPal announced its second round of investments and

again touted its racial criteria: “an additional $50 million in 11 Black- and Latinx-led

early-stage venture capital funds.” Press Release, PayPal Invests Additional $50 Million in

                                            12
      Case 1:25-cv-00033-DEH       Document 1     Filed 01/02/25    Page 13 of 24




Black and Latinx-Led Venture Capital Funds as Part of $535 Million Commitment (May 26,

2021), perma.cc/R9GZ-M6GD. These investments, PayPal explained, were designed

to “build upon the $50 million investment by PayPal in eight Black and Latinx-led early-

stage venture capital funds announced in October 2020.” Id.

      50.    Once again, PayPal’s CEO reiterated the company’s racial discrimination.

Schulman highlighted the two racial groups considered for the program, noting that

“[v]enture capital funds led by Black and Latinx managers expand wealth creation op-

portunities for diverse founders.” Id. And in a separate press release Schulman re-em-

phasized the program’s racial criteria: “PayPal,” he said, “will invest an additional $50

million in 11 Black- and Latinx-led early-stage venture capital funds.” Dan Schulman,

Linkedin Post (2021), perma.cc/9GM5-MJZY.

      51.    Again, PayPal’s racial criteria were obvious: Not a single dollar was given

to funds without at least one black or Hispanic general partner.

      52.    In the days that followed the May 26 announcement, PayPal continued to

fixate on black and Hispanic minorities, with no mention of Asian Americans, other

racial minorities, or other demographic groups.

      53.    In a statement to the news publisher Payments Dive, a PayPal spokesper-

son made clear that race mattered in the awards: “Our ventures team met with more

than 200 funds over the past year and ultimately evaluated them based on a mix of

historical investment performance, diversity (race, gender, and geography), and align-




                                           13
      Case 1:25-cv-00033-DEH       Document 1      Filed 01/02/25    Page 14 of 24




ment with PayPal’s commitment to address the racial wealth gap.” Vaidik Trivedi, Pay-

Pal Invests $50M More in Black, Latinx Funds, Payments Dive (May 27, 2021),

perma.cc/XN39-M6Z8.

      54.    Even today, PayPal continues to make the same race-based claims. Just a

few weeks ago, PayPal’s “Economic Opportunity Fund Manager,” Lisha Bell, said the

“Economic Opportunity fund”—the program Ms. Desai tried to apply to—was created

to “inves[t] in first-time diverse GPs and funds.” Inside PayPal Ventures, 0:55-1:10 (Nov.

8, 2024), perma.cc/KQ3B-WE9C. And what did it mean by “diverse?” “[B]lack and

brown lead funds.” Id. And “brown” meant Hispanic, including white Hispanics, but

not brown Asian-American women like Ms. Desai.

      55.    In total, PayPal invested $100 million in 19 venture capital firms led by

“Black and Latinx managers,” but announced not $1 of funding to Asian-American

woman-led funds—despite their demonstrated interest and fit. Id.

      56.    Moreover, PayPal has explicitly told multiple Asian-American-woman

general partners that their firms were ineligible for investment awards because PayPal

had identified them as of Asian descent.

      57.    To PayPal and its executives, Asian Americans might be minorities, but

they’re the wrong kind of minority.

      58.    PayPal has not announced an end to the program.




                                           14
      Case 1:25-cv-00033-DEH        Document 1     Filed 01/02/25    Page 15 of 24




   D. PayPal refuses to fairly and equally evaluate Andav for multi-million-
      dollar investment contracts on account of Ms. Desai’s race.
      59.      The 19 emerging venture capital firms that PayPal selected for multi-mil-

lion-dollar investments include at least 38 general partners.

            a. 19 out of 19 awardee firms have at least one black or Latino general part-

               ner.

            b. 19 out of 19 awardee firms have general partnerships with 50% or more

               black or Latino partners.

            c. 0 out of 19 awardee firms have general partnerships with more than 50%

               Asian-American or non-Hispanic white general partners.

            d. 0 of the awardee funds are majority-owned by an Asian-American woman

               general partner.

            e. 0 out of 38 awardee general partners is an Asian-American woman.

      60.      PayPal invested in 6 emerging venture capital firms run by solo general

partners.

            a. 6 out of 6 of those solo general partner firms were black or Latino owned.

            b. 0 out of 6 of those solo general partners were Asian-American or non-

               Hispanic white owned.

      61.      PayPal awarded multi-million-dollar investment contracts—an average of

$5 million dollars at a time—to numerous black and Latino emerging fund managers,

but not a single dollar to an emerging Asian-American woman fund manager, even



                                            15
      Case 1:25-cv-00033-DEH        Document 1      Filed 01/02/25     Page 16 of 24




though multiple emerging Asian-American women fund managers sought funding

through this program.

      62.    The exclusion of Andav from PayPal’s program cost Andav vital capital

worth millions of dollars to the firm. Additionally, as PayPal had anticipated and hoped

for, emerging venture firms that received PayPal’s investment were able to leverage

those awards into additional investments, greater brand equity, resources, access, and

success.

      63.    PayPal’s race-based rejections also distorted the market for emerging ven-

ture-capital funds focused on underserved founders. Funds that PayPal rejected suf-

fered from the adverse and inaccurate perception that PayPal had made a decision based

on the merits of their business, rather than the race of the fund’s general partner.

                               CLAIMS FOR RELIEF
                                     COUNT I
                      Violation of the Civil Rights Act of 1866
                                   42 U.S.C. §1981
      64.    Plaintiffs repeat and reallege each of the prior allegations.

      65.    Section 1981 states that “[a]ll persons … shall have the same right … to

make and enforce contracts … and to the full and equal benefit of all laws … as is en-

joyed by white citizens.” 42 U.S.C. §1981(a).

      66.    Section 1981 lets private plaintiffs sue for equitable and legal relief, includ-

ing compensatory and punitive damages. Johnson v. Ry. Express Agency, Inc., 421 U.S. 454,

459-60 (1975).



                                            16
      Case 1:25-cv-00033-DEH        Document 1       Filed 01/02/25   Page 17 of 24




       67.    The Supreme Court has held that §1981 “protects the equal right of all

persons … without respect to race.” Domino’s Pizza, Inc v. McDonald, 546 U.S. 470, 474

(2006) (cleaned up); accord McDonald, 427 U.S. at 295 (§1981 “was meant, by its broad

terms, to proscribe discrimination in the making or enforcement of contracts against,

or in favor of, any race.”).

       68.    PayPal violated §1981 by discriminating against Asian Americans in its in-

vestment program.

       69.    PayPal’s program implicates the “making … of contracts,” which is an

enumerated activity in §1981.

       70.    The investment program is designed to lead to a contractual relationship

between PayPal and investment funds.

       71.    In exchange for PayPal’s financial investment, the funds agree to “work

collaboratively” with PayPal and have numerous legal obligations to PayPal. They also

benefit from PayPal’s commitment to, “in some cases, invest directly in businesses

through PayPal Ventures, [PayPal’s] venture capital arm.” PayPal Invests $50 Million in

Black and Latinx-Led Venture Capital Funds, supra.

       72.    These investment contracts grant PayPal information rights, provide for

regular financial reporting to PayPal, generate goodwill for PayPal among businesses

who support such racially-exclusionary practices, and generate financial benefits—such

as tax breaks or financial returns—for PayPal or its affiliates.




                                            17
      Case 1:25-cv-00033-DEH         Document 1      Filed 01/02/25    Page 18 of 24




       73.     PayPal’s racial and ethnic discrimination against Asian Americans was in-

tentional.

       74.     PayPal has no valid defense for its use of race and ethnicity as factors in

making investments, either asserted or theoretical. Nor could it survive strict scrutiny.

       75.     And PayPal’s conduct was recklessly and callously indifferent to Plaintiffs’

“federally protected rights.” Tolbert v. Queens Coll., 242 F.3d 58, 77 (2d Cir. 2001).

       76.     Plaintiffs suffered immense damages as a result of PayPal’s intentional dis-

crimination.

                                      COUNT II
                     Violation of Title VI of the Civil Rights Act
                                  42 U.S.C. §2000d
       77.     Plaintiffs repeat and reallege each of the prior allegations.

       78.     Title VI provides that no person “shall, on the ground of race, color, or

national origin, be excluded from participation in, be denied the benefits of, or be sub-

jected to discrimination under any program or activity receiving Federal financial assis-

tance.” 42 U.S.C. §2000d.

       79.     Private plaintiffs can sue to enforce Title VI and obtain both injunctive

relief and damages. See Alexander v. Sandoval, 532 U.S. 275, 279-80 (2001).

       80.     Under Title VI, “the term ‘program or activity’ and the term ‘program’

mean all of the operations of … an entire corporation … if assistance is extended to

such corporation … as a whole.” 42 U.S.C. §2000d-4a(3)(A)(i).




                                             18
      Case 1:25-cv-00033-DEH         Document 1       Filed 01/02/25    Page 19 of 24




       81.     PayPal received federal financial assistance as a whole by, at a minimum,

participating in the Paycheck Protection Program under the Coronavirus Aid, Relief,

and Economic Security Act. See PayPal, Federal and State Government Resources Related to

COVID-19 (April 30, 2020), perma.cc/88E9-SFN8.

       82.     All of PayPal’s operations, including its racially discriminatory investment

program, were subject to Title VI at all relevant times.

       83.     PayPal’s program violates Title VI because Asian-American fund manag-

ers are “excluded from participation in” and “subjected to discrimination under” the

program “on the ground of race.” 42 U.S.C. §2000d.

       84.     Title VI applies the Equal Protection Clause’s rules about race discrimina-

tion to funding recipients, including private entities. Gratz v. Bollinger, 539 U.S. 244, 276

n.23 (2003).

       85.     PayPal’s use of race is subject to strict scrutiny, which it cannot satisfy.

       86.     PayPal cannot show a compelling interest for excluding Asian Americans.

       87.     “[A] generalized assertion that there has been past discrimination in an

entire industry” cannot serve as a compelling interest that justifies present discrimina-

tion. City of Richmond v. J.A. Croson Co., 488 U.S. 469, 498 (1989).

       88.     Discrimination against Asian-American female fund managers—a group

that faces the same funding disparities as their black and Latino counterparts—is not

narrowly tailored. The Untapped Potential of Women-led Funds 6 (Oct. 2020),

perma.cc/TGK8-ABFF.

                                             19
      Case 1:25-cv-00033-DEH           Document 1       Filed 01/02/25     Page 20 of 24




       89.     PayPal never “considered” and reasonably rejected “methods other than

explicit racial classifications to achieve [its] stated goals.” Parents Involved in Cmty. Schs. v.

Seattle Sch. Dist. No. 1, 551 U.S. 701, 735 (2007).

       90.     Nor can PayPal show “the most exact connection between justification

and classification.” Wygant v. Jackson Bd. of Educ., 476 U.S. 267, 280 (1986).

       91.     PayPal’s racial and ethnic discrimination against Asian Americans was in-

tentional.

       92.     PayPal was recklessly and callously indifferent to Plaintiffs’ “federally pro-

tected rights.” Tolbert v. Queens Coll., 242 F.3d 58, 77 (2d Cir. 2001).

       93.     Plaintiffs suffered immense damages as a result of PayPal’s intentional dis-

crimination.

                                COUNT III
              Violation of New York State Human Rights Law
    N.Y. Exec. Law §296-a – Discriminatory Practices in Relation to Credit
       94.     Plaintiffs repeat and reallege each of the prior allegations.

       95.     New York law makes it an “unlawful discriminatory practice for any cred-

itor or any officer, agent or employee thereof” to “discriminate in the granting, with-

holding, extending or renewing, or in the fixing of the rates, terms or conditions of, any

form of credit, on the basis of race.” N.Y. Exec. Law §296-a(1)(b).

       96.     The term “creditor” means “any person or financial institution which does

business in this state and which extends credit or arranges for the extension of credit

by others.” N.Y. Exec. Law §292(22). The term “creditor” is broad, and it includes


                                               20
      Case 1:25-cv-00033-DEH         Document 1      Filed 01/02/25    Page 21 of 24




“credit card issuers,” “licensed lenders,” and “banks,” along with other financial insti-

tutions. Id.

       97.     PayPal is a creditor. The company issues credit cards. E.g., The PayPal Cash-

back Mastercard (archived Jan. 2, 2025), perma.cc/U9RP-6YV3. It offers an array of

“credit products,” including a “digital credit line” and “a revolving line of credit.” What

credit or debit products are offered by PayPal? (archived Jan. 2, 2025), perma.cc/UCN5-

FUKK; PayPal credit options (archived Jan. 2, 2025), perma.cc/46RJ-MG68. It extends

credit—through its “Working Capital Business Loan” and “PayPal Business Loan”—

to a wide range of businesses. E.g., Working capital (archived Jan. 2, 2025),

perma.cc/V7Y6-67YN; Small Business Loans (archived Jan. 2, 2025), perma.cc/7NN8-

FUFG. And the company is even licensed as a “Credit Services” provider in several

States. E.g., Pennsylvania Dep’t of Banking and Securities (Feb. 1, 2024), perma.cc/QR6D-

4LWG; Vermont - Small Loan Company License (Apr. 9, 2024), perma.cc/CJ37-2SFR.

       98.     PayPal racially discriminated against Ms. Desai and Andav Capital in the

“the fixing of the … terms or conditions of” and in “withholding” program funds, a

“form of credit.” N.Y. Exec. Law §296-a(1)(b).

       99.     PayPal’s racial and ethnic discrimination against Asian Americans was in-

tentional.

       100. PayPal’s conduct “conscious[ly] disregard[ed]” Plaintiffs’ rights. Chauca v.

Abraham, 30 N.Y.3d 325, 334 (2017); Tolbert, 242 F.3d at 77.




                                             21
      Case 1:25-cv-00033-DEH       Document 1     Filed 01/02/25    Page 22 of 24




      101. Plaintiffs suffered immense damages as a result of PayPal’s intentional dis-

crimination.

                               COUNT IV
             Violation of New York City Human Rights Law
 N.Y.C. Admin. Code §8-107(4) – Discrimination in Public Accommodations
      102. Plaintiffs repeat and reallege each of the prior allegations.

      103. New York City makes it an “unlawful discriminatory practice” for any

“provider of public accommodation” to “refuse, withhold from or deny the full and

equal and enjoyment, on equal terms and conditions, of any of the accommodations,

advantages, services, facilities, or privileges of the place or provider of public accom-

modation” “[b]ecause of any person’s actual or perceived race.” N.Y.C. Admin. Code

§8-107(4)(1)(a).

      104. The term “place or provider of public accommodation” “includes provid-

ers, whether licensed or unlicensed, of goods, services, facilities, accommodations, ad-

vantages or privileges of any kind.” N.Y.C. Admin. Code §8-102. In New York, the

term “public accommodation” is “broad,” and it includes any business that “provid[es]

conveniences and services to the public.” Gifford v. McCarthy, 23 N.Y.S.3d 422, 427

(2016).

      105. PayPal is a place or provider of public accommodation. The company’s

most popular service—an application that allows users to “send and request money,”

Transfer Money Online (archived Jan. 2, 2025), perma.cc/T8NW-B5MB—is open to prac-

tically everyone in the United States, PayPal User Agreement (Oct. 28, 2024),


                                           22
      Case 1:25-cv-00033-DEH          Document 1       Filed 01/02/25   Page 23 of 24




perma.cc/6AQZ-N9MV. And many of PayPal’s remaining products—like its loans,

credit lines, and digital wallet—are all open to the public, too. The challenged program

(absent its illegal racial and ethnic criteria) was as well.

       106. PayPal denied Ms. Desai and Andav Capital, because of race, the “full and

equal enjoyment, on equal terms and conditions” of the opportunity to be evaluated for

participation in its investment program. N.Y.C. Admin. Code §8-107(4)(1)(a).

       107. PayPal’s racial and ethnic discrimination against Asian Americans was in-

tentional.

       108. PayPal’s conduct “conscious[ly] disregard[ed]” Plaintiffs’ rights. Chauca v.

Abraham, 30 N.Y.3d 325, 334 (2017); Tolbert, 242 F.3d at 77.

       109. Plaintiffs suffered immense damages as a result of PayPal’s intentional dis-

crimination.

                                 PRAYER FOR RELIEF
       110. Plaintiffs respectfully ask this Court to enter judgment in their favor and

against Defendants and provide the following relief:

             A. A declaration that PayPal’s race- and ethnicity-based investment program

                violates Section 1981, New York State law, and New York City law;

             B. An injunction barring PayPal from knowing or considering race or ethnic-

                ity in any way in its investment program;

             C. Compensatory damages;

             D. Punitive damages;


                                              23
      Case 1:25-cv-00033-DEH           Document 1      Filed 01/02/25      Page 24 of 24




           E. Nominal damages of $1;

           F. Reasonable costs and expenses of this action, including attorneys’ fees,

               under 42 U.S.C. §1988 and any other applicable laws; and

           G. All other relief that Plaintiffs are entitled to.

                              DEMAND FOR JURY TRIAL
       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiffs demand

a trial by jury of all issues so triable.


Dated: January 2, 2025                              Respectfully submitted,

                                                    /s/ Daniel M. Vitagliano___

                                                    Thomas R. McCarthy**
                                                    Cameron T. Norris**
                                                    Daniel M. Vitagliano* (SDNY Bar No.
                                                    5856703)
                                                    CONSOVOY MCCARTHY PLLC
                                                    1600 Wilson Blvd., Ste. 700
                                                    Arlington, VA 22209
                                                    tom@consovoymccarthy.com
                                                    cam@consovoymccarthy.com
                                                    dvitagliano@consovoymccarthy.com

                                                    Patrick N. Strawbridge**
                                                    CONSOVOY MCCARTHY PLLC
                                                    Ten Post Office Square
                                                    8th Floor South PMB #706
                                                    Boston, MA 02109
                                                    patrick@consovoymccarthy.com


                                                    *Supervised by principals of the firm admitted
                                                    to practice in VA
                                                    **Pro hac vice applications forthcoming


                                              24
